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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 CHARLES GRESHAM, et al.,                              )
                                                       )
                Plaintiffs,                            )
                                                       ) No. 1:18-cv-01900-JEB
        v.                                             )
                                                       )
 ALEX M. AZAR II , et al.,                             )
                                                       )
                Defendants.                            )


                        JOINT PROPOSED BRIEFING SCHEDULE

       Pursuant to the Court’s September 14th order, the parties have conferred and submit the

following proposed briefing schedule:

       October 15: Defendants produce administrative record

       November 5: Plaintiffs’ Motion for Summary Judgment and First Amended Complaint

       November 30: Defendants’ and Intervenor’s Oppositions to Plaintiffs’ Motion for Sum-

       mary Judgment and Defendants’ and Intervenor’s Motions to Dismiss and/or Motions for

       Summary Judgment

       December 21: Plaintiffs’ Opposition to Defendants’ Motion(s) and Plaintiffs’ Reply in

       Support of their Motion

       January 14: Defendants’ and Intervenor’s Replies in Support of their Motions

The parties agree to stay Defendants’ obligation to Answer the Complaint until resolution

of these motions.

       Plaintiffs agree to this proposed briefing schedule because it should allow the parties’

motions on the merits of this case to be ripe for decision well in advance of March 31, 2019.

Plaintiffs additionally state that Arkansas Works beneficiaries who are eligible for the program

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in January, but fail to meet the requirements of the current program regarding “community en-

gagement” for three months will be terminated from the Medicaid program for the remainder of

the year beginning March 31, 2019. Plaintiffs therefore request that if in the Court’s opinion this

briefing schedule would not permit sufficient time for a decision by that date, the Court set a sta-

tus conference to discuss the briefing schedule.

       The Federal Defendants and the Intervenor take no position on whether the Court should

rule by any particular date or on whether it should hold a status conference.

Dated: September 27, 2018                                Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 27, 2018, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, which will send an electronic notice to the Defend-

ants’ attorneys of record.


                                             By:     /s/ Catherine McKee
                                                     Catherine McKee




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